Case 18-33608 Document 13-1 Filed in TXSB on 07/16/18 Page 1 of 2

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“-gouelbeally - 00°OLOL LLoly 8LOZ/6L/LO yoayd
“eouelBally - 00'OLOL “CIOA LLely SLOZ/6L/L0 yoayoked
“-gouelbeally - 00'OLOL Levly LLOZ/S1/60 yoayoked
“-gouelBeally - 00'OLOL Serly ZL02/8 1/80 yoayoked
“eouelBally - 000101 9@rLy LL0@/1L 4/80 yoayoked
“aouelBally - 00°OLOL vlely LLOZ/LZ/Z0 yoayoked
“gouelBally - 00°OL0L LOvly LLOZ/PL/Z0 yoayoked
“aouelBally - 00°OLOL G6eLy LLOZ/0€/90 yoayoked
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GL eer X “-gouelBally - 00'OLOL Slrly 8LOZ/6L/L0 yoayoked
Gl8cr xX “-gouelbally - 00'OLOL LSvlv 2102/02/01 yoayoked
Gl8cr X “-gouelBally - 00'OLOL vSVLY LLOZ/EL/OL yoayoked
Gl8tr xX “-gouelbally - 00'OLOL esrly 2102/90/01 yosyoked
Gl8¢v X “-eouelbally - 00'OLOL LSply 2102/62/60 yoayoked
Gl 8er X “-aoueiBally - 00'OLOL SrbLly 2102/22/60 yooyoked
Gl 8cr X “-gouelbally - 00'OLOL 9vrLy 2102/S 1/60 yosyoked
Gl8tr xX “eouelbally - 00'OLOL Srbly 2102/80/60 yoayoked
Gl’8tv X “eouelbally - 00'OLOL brrly 2102/80/60 yoayoked
Gl°8cr xX “-gouelBally - 00'OLOL errly 2102/80/60 yosyoked
GL’8tv X “-goueibally - 00'OLOL sevly 2102/¥2/80 yooyoked
GL 8tr X “-gouelbally - 00'OLOL verly 2102/81/80 yosyoked
Gl°8tr X “eouelbally - 00'OLOL Levly 2102/11/80 yosyoked
Gl 8tr X “-aouelBally - 00'OL0L ecvly 2102/70/80 yosyoked
Gl 8cr xX “eouelbally - 00'OL0L 9LrLy 2102/82/20 yoayoked
Gl8tr X “eouelbally - 00'OLOL Slvly Z102/12/20 yosyoked
Gl°8cr xX “-gouelbally - 00°OL0L eloly 2102/12/20 yoayoked
Gl8tr xX “eouelbally - 00'OLOL clyly 2102/12/20 yoayoked
GL8cr xX “eouelbally - 00'OLOL OlvLy Z102/7 1/20 yoayoked
Gl’8tv X “-gouelBally - 00'OL0L 60bb LZL02/v 1/20 yosyoked
GL8tv X “-goueibally - 00'OLOL 80rLy LZ102/7 1/20 yoayoked
Gl°8tr X “-aouelbally - 00'OLOL ZOvLy 2102/20/20 yoayoked
Gl8tr xX “-gouelbally - 00'OLOL LOovly 2102/20/20 yooyoked
Gl eer X “eouelBally - 0O'OLOL 00rr 2102/20/20 yoayoked
Gl 8tv X “gouelBelly - 00'OLOL 66EL7 2102/20/20 yosyoked
GL 8tv X “eouelbally - OO'OLOL 86ELb 2102/20/20 yoayoked
Gl8cr X ““goueiBelly - 00'OLOL Z6eLv 2102/20/20 yoayoked
GL 8tv X “gouelBally - 00'OLOL 96ELb 2102/0€/90 yosyoked
Gl8cr X “~eouelbally - 00'OLOL v6ELy 2Z102/0€/90 yooyoked
GL 8cr X “eouelBelly - 00'OL0L C6ELV 2102/0€/90 yosyoked
Gl8cv xX ~-gouelBally - 00'OL0L 98cLy 2102/60/90 yosyoked
L e1AiIS ‘11eSseH
jyunowy 49D jyunoscy Owed wnNN ajeq adAL
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‘ou ‘Auedwiosg »g |JaSSey “Y INV 61:1
